          Case 3:15-cv-03717-WHO Document 193 Filed 07/01/22 Page 1 of 2



 1

 2

 3

 4

 5

 6

 7

 8                                  UNITED STATES DISTRICT COURT
 9
              NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
10

11   SOFIE KARASEK, individually;                    )   Case No.: 3:15-cv-03717-WHO
     NICOLLETTA COMMINS, individually;               )
12   ARYLE BUTLER, individually;                     )   [PROPOSED] JUDGMENT IN A
                                                     )
                      Plaintiffs,                    )   CIVIL CASE
13
                                                     )
14            vs.                                    )   Judge: Hon. William H. Orrick
                                                     )
15                                                   )
                                                     )
16   THE REGENTS OF THE UNIVERSITY                   )
     OF CALIFORNIA, a public entity, and             )
17   DOES 1 through 100, inclusive,                  )
                                                     )
18                     Defendants.                   )
                                                     )
19
20

21            Pursuant to the Court's Order Granting Defendant's Motion to Dismiss Aryle Butler’s
22
     Fifth Amended Complaint, judgment is entered accordingly.
23

24   Dated:                                       _________________, Clerk

25
                                                  By:_______________
26

27

28

                                                 1
                                        [PROPOSED] JUDGMENT
     Case 3:15-cv-03717-WHO Document 193 Filed 07/01/22 Page 2 of 2



 1    IT IS SO ORDERED.

 2

 3   Dated: ________________             ___________________________
                                         Hon. William H. Orrick
 4                                       Judge of the United States District Court
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28

                                        2
                               [PROPOSED] JUDGMENT
